                         Case 2:19-cr-00312-PBT Document 23 Filed 12/20/19 Page 1 of 8
AO 24 58 (Rev 09/19)   Judgment m a Cnminal Case
                       Sheet I



                                         UNITED STATES DISTRICT COURT
                                                       Eastern District of Pennsylvania

              UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V.

                JOHN C. DELLAROCCO, JR.                                              Case Number: DPAE2:19CR00312-001
                                                                                     USM Number: 77247-066
                                                                                      Catherine C. Henry, Esq.
                                                                                     Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)           1-12
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                           Offense Ended
18:2422(b)                       Use of interstate commerce facility to entice a minor, and                   9/10/2017              1-4
                                 attempt to entice a minor, to engage in sexual conduct

18:2251{a)                       Manufacture and attempted manufacture of child                              4/1/2017               5-11

       The defendant is sentenced as provided in pages 2 through                 8          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

• Count(s)                                              Dis       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                                                            12/16/2019
                                                                         Date   of Impos1tion of Judgment

                                                                          ~~--JJ~~
                                                                         Signature of Judge




                                                                                     Petrese B. Tucker. U.S. District Court Judge, EDPA
                                                                         Name and Title of Judge




                                                                         Date
                        Case 2:19-cr-00312-PBT Document 23 Filed 12/20/19 Page 2 of 8
AO 245B (Rev 09/19)   Judgment in a Crimlnal Case
                      Sheet IA
                                                                          Judgment-Page __ _g    of   8
DEFENDANT: JOHN C. DELLAROCCO, JR.
CASE NUMBER: DPAE2:19CR00312-001

                                          ADDITIONAL COUNTS OF CONVICTION

Title & Section                 Nature of Offense                     Offense Ended
                                 pornography

18:2252(a)(4)(B),(b )(2)         Possession of child pornography       9/26/2017                12
                          Case 2:19-cr-00312-PBT Document 23 Filed 12/20/19 Page 3 of 8
AO 245B (Rev 09/l 9) Judgment in Crurunal Case
                     Sheet 2 - Impnsonment
                                                                                                        Judgment - Page      ~   of   8
 DEFENDANT: JOHN C. DELLAROCCO, JR.
 CASE NUMBER: DPAE2:19CR00312-001

                                                               IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 240 months




      D      The court makes the following recommendations to the Bureau of Prisons:




      liZ!   The defendant is remanded to the custody of the United States Marshal.

      D      The defendant shall surrender to the United States Marshal for this district:

             D   at                                D    a.m.     D   p.m.     on

             D   as notified by the United States Marshal.

      D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             D   before 2 p.m. on

             D   as notified by the United States Marshal.

             D   as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                          to

 at                                                  , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                             By
                                                                                                  DEPUTY l,'NITED STATES MARSHAL
                         Case 2:19-cr-00312-PBT Document 23 Filed 12/20/19 Page 4 of 8
AO 245B (Rev 09/19)   Judgment m 11 Criminal Case
                      Sheet 3 - Supemsed Release
                                                                                                      Judgment-Page     4     of        8
DEFENDANT: JOHN C. DELLAROCCO, JR.
CASE NUMBER: DPAE2:19CR00312-001
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 LIFETIME SUPERVISED RELEASE




                                                    MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if appltcable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     ~ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                       Case 2:19-cr-00312-PBT Document 23 Filed 12/20/19 Page 5 of 8
AO 245B (Rev 09/19)   Judgment tn a Crumnal Case
                      Sheet 3A - Supemsed Release
                                                                                               Judgment-Page         5        of         8
DEFENDANT: JOHN C. DELLAROCCO, JR.
CASE NUMBER: DPAE2:19CR00312-001

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least l 0
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers ).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
AO 245B (Rev 09/19)    Case ma
                      Judgment  2:19-cr-00312-PBT
                                  Cnmmal Case       Document 23 Filed 12/20/19 Page 6 of 8
                      Sheet 4C - Probation
                                                                                             Judgment-Page   6 _ of   __   a_ --
DEFENDANT: JOHN C. DELLAROCCO, JR.
CASE NUMBER: DPAE2:19CR00312-001

                        ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the
 defendant, John C. Dellarocco, is hereby committed to the custody of the Bureau of Prisons to be
 imprisoned for a term of 240 months on each of Counts One through Twelve, such terms to be
 served concurrently.

 Upon release from imprisonment, the defendant shall be placed on lifetime supervised release for each of Counts One
 through Twelve, such terms to run concurrently.
 Within 72 hours of release from the custody of the Bureau of Prisons, the defendant shall report
 in person to the probation office in the district to which the defendant is released.
 While on supervised release, the defendant shall not commit another federal, state, or local
 crime, shall be prohibited from possessing a firearm or other dangerous device, shall not possess
 an illegal controlled substance, shall submit to the collection of a DNA sample at the direction of
 the United States Probation Office, and shall comply with the other standard conditions that have
 been adopted by this Court. The defendant must submit to one drug test within 15 days of
 commencement of probation and at least two tests thereafter as determined by the probation
 officer.

 In addition, the defendant shall comply with the following special conditions:
 The defendant shall submit to an initial inspection by the U.S. Probation Office and to
 any examinations during supervision of the defendant's computer and any devices,
 programs, or application. The defendant shall allow the installation of any hardware or
 software systems which monitor or filter computer use. The defendant shall abide by the
 standard conditions of computer monitoring and filtering that will be approved by this
 Court. The defendant is to pay the cost of the computer monitoring not to exceed the
 monthly contractual rate, in accordance with the probation officer's discretion.
 The defendant shall report to the U.S. Probation Office any regular contact with children
 of either sex under the age of 18. The defendant shall not obtain employment or perform
 volunteer work which includes regular contact with children under the age of 18.
 The defendant shall participate in a sex offender program for evaluation and treatment
 and abide by the rules of any such program until satisfactorily discharged. While in the
 treatment program, the defendant shall submit to risk assessment, psychological testing,
 and physiological testing, which may include, but is not limited to, polygraph or other
 specific tests to monitor compliance with supervised release and treatment conditions.
 The defendant shall comply with the requirements of the Sex Offender Registration and
 Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation officer, the
 Bureau of Prisons, or any state sex offender registration agency in which he resides,
 works, is a student, or was convicted of a qualifying offense.

 The defendant shall participate in a mental health program for evaluation and/or
 treatment and abide by the rules of any such program until satisfactorily discharged.
 The defendant shall provide the U.S. Probation Office with full disclosure of his financial
 records to include yearly income tax returns upon the request of the U.S. Probation
 Office. The defendant shall cooperate with the probation officer in the investigation of
 her financial dealings and shall provide truthful monthly statements of his income.
 The defendant is prohibited from incurring any new credit charges or opening additional
 lines of credit without the approval of the probation officer. The defendant
 shall not encumber or liquidate interest in any assets. The Court finds that the defendant does
 not have the ability to pay a fine. The Court will waive the fine in this case.
AO 245B (Rev 09/19)     Casem2:19-cr-00312-PBT
                      Judgment   a Cnmmal Case                 Document 23 Filed 12/20/19 Page 7 of 8
                      Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment -- Page       7    of       8
 DEFENDANT: JOHN C. DELLAROCCO, JR.
 CASE NUMBER: DPAE2:19CR00312-001
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment           Restitution               Fine                   AV AA Assessment*             JVTA Assessment**
 TOTALS          S 1,200.00              S 0.00                   S 0.00                $                             $



 D The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless s~cified otherwise in
     the priori!)'. order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                Total Loss***             Restitution Ordered           Priority or Percentage




 TOTALS                            $                          0.00          $                      0.00


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the         D fme      D restitution.
       D the interest requirement for the       D    fine      D restitution is modified as follows:

 * Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for ictims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
AO 245B (Rev 09/19)     Casem2:19-cr-00312-PBT
                      Judgment     a Cnmmal Case                Document 23 Filed 12/20/19 Page 8 of 8
                      Sheet 6 - - Schedule of Payments

                                                                                                            Judgment • - Page _   8      of       8
 DEFENDANT: JOHN C. DELLAROCCO, JR.
 CASE NUMBER: DPAE2:19CR00312-001

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~    Lump sum payment of$         1,200.00               due immediately, balance due


           •     not later than
                 in accordance with D C,
                                                                    , or
           •                                       •    D,
                                                                •    E, or     D Fbelow; or
 B     •    Payment to begin immediately (may be combined with               • c.       DD.or        D F below); or

 C     D    Payment in equal                        (e g, weekly, monthly. quarterly) installments of $                 over a period of
                           (e.g, months or years), to commence                       (e g, 30 or 60 days) after the date of this judgment; or

 D     D    Payment in equal                        (e . g, weekly, monthly, quarterly) installments of $                over a period of
                           (e g, months or years), to commence                     . _(e g, 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E     D    Payment during the term of supervised release will commence within                 (e g, 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this jud_gment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the cferk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                   Joint and Several                Corresponding Payee,
       (including defendant number)                          Total Amount                      Amount                          if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 Ill   The defendant shall forfeit the defendant's interest in the following property to the United States:
       One(1) Apple MacBook Pro, bearing serial number C02HW42GDKQ1; One(1) Apple iPhone 7 Plus, Model A 1661, serial
       number F2MT3ZBEHG00; One(1)16GB Lexar Flash Drive; and One(1) Lenovo Laptop, Model 20187

 PaYQJ.ents shall be a_pplied in the following order: (1) assessment, (2) restitution princjpal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (b) fine interest, (7) community restitution, (8) NTA assessment, ('J) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
